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            EXHIBIT H
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                                                                                                                                                                          MINNEAPOLIS.\IN 55402 2015
                                                                                                                                                                          TEL. 612-349-8500 F A X 612-339-4151


                                                                                                                         I       ATTORNEYS AT LAW                     I


                                                                                                                                                     A. DALEY
                                                                                                                                             ANNAMARIE
                                                                                                                                                     612-349-8431




                                                                                            February 6,2008

                        Via Facsimile
                        Nicholas P. Mizell
                        Shook, Hardy & Bacon L.L.P
                        2555 Grand Blvd.
                        Kansas City, Missouri 64 108

                                    Re:         In re: Neurontin Marketing and Sales Practices Litigation

                        Dear Mr. Mizell,

                        You will recall that you requested and plaintiffs agreed to postpone the filing of a motion to
                        compel on the various issues regarding the deposition of Pfizer’s 30(b)(6)designee on the topic
                        of Third Party Payor communications taken December 5 and 6, 2007, so that Pfizer would have
                        an opportunity to determine whether certain information could be recovered and produced to
                        plaintiffs.

                        As of this writing, we have not received any response from anyone on behalf of Pfizer regarding
                        this issue. Please provide an update to us on this issue by 5:OO p.m. CST Thursday, February 7,
                        2008. If we do not hear .from you by that time, we will assume that Pfizer was unable to recover
                        this information and we will proceed with filing our motion.

                                                                                                    Sincerely,

                                                                                                    ROBINS, W L A N , MILLER & CIRESI L.L.P.




                        A.AD/VO




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